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                                        COU!'tT-y Or LOS ANGELES - S.HERIFF'S OEPARTMENT - SUPPLEMENTARY REPORT .



              OA TE _J'\~.~P~R~IL~·_- =.1.:,5!-,-=..1.::..9.=. 8.=. 5       FILE NO.   085- 04423 - 0 5 3 3 -011
                              MURDER, 187 P.C./ATTEMPT
              C.             ~M=U~R=DER,
                                      664/187 P.C.                          Action To51etl-b.cTIVE.L!NVES.J:.!.GAnONM lIOE I
                                                                                        EVIDENCE EELD/Ce 185-3822
                                                                                        ISSUEp.
              V.tl: OKAZAKI, DAYLE, FO/34 (DECEASED)
                 Vt2: HERNANDEZ, MARIA, FM/20 (INJURED)

               s.             ONRNOWN


                 EVIDE~CE                HELD:-

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                 t~~~~~tjj~ expended, contained in coroner's envelope,
~
                                            retrieved by~Dr•. Wegner at autopsy of Victim Okazaki
     \                                      (Receipt tD-90868 issued);
                 rt~cf~r~1[~tf~lxpended~ fragments, contained in 2 plastic.                                            'ar,."
               '""·--~--~ials, retrieved by staff physician at Beverly                                        ~         ~
                                            Hospital from the hand of Victim Maria Hernandez                             '
                                            (Receipt iG-050518 issued):

                 ********************************************~~.*******************



                 On Sunday, 3/17/85 at 2345 hours, Investigators were assigned
                 to investigate the circumstances surrounding the death of Vict~
                 '1, Dayle Okazaki, FO/34, and the injuring of Victim '2, Maria
                 Hernandez.
                Upon Investigators' arrival at 0020 hours, 3/~8/85 (Monday), we
                contacted Deputies Dalbi., '015139, and Powell, 1195877, of
                Temple Patrol, Unit t53V, who related that at 2254 hours, they
                had received a radio.call of a gunshot victim at the location,
                and that upon their arrival they had discovered the body of
                Vict~ Okazaki and had made contact with Victim 12, Maria
                Hernandez. They further related that, according to Vict~
                Hernandez, a lone male had entered the location, a condominium,
                Via the garage as she was attempting to gain entry into the
    .-          ]1vina area after having arrived hor.;e for the ~-.-_.)~.ng. She
                iUIcner rel_:.... ~ that the lone gunman shot her first, then    .. _~~.
                entered the condominium and Shot her roommate. A complete aq~         .~.
                :eta~~ed rf:poI't cover~ng' the actions of these deputies will                             B\ .\ ., )
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                                    obtained and made a permanent part of this file.
                                        -
                                    Investigators' found the location, 8510 E. Village Lane, Rosemead,
                                    to be a two-bedroom condominium with attached garage. It is a
                                    single unit that is attached to five other units in the same
                                    building. It is the last apartment on the west end of the
                                    bUilding, with the remaining apartments extending to the east.
                                    The front door to the apartment faces north, and the garage
                                    door, which--is electronically operated, faces south. There :·1!:
                                    an alleyway that runs east to west at the rear of the location
                                    which allows entry into the garages and Village Lane, which 1s\
                                    in the front, and is an east-to-west street that allows access"
                                    to the rest of the condominium complex. The entire complex 1s
                                    located at the intersection of Walnut Grove Avenue and San
                                    Gabriel Boulevard in the city of Rosemead.

                                    Investigators noted that there were what appeared to "be blood
                                    droplets that led from the interior of the garage at the location
                                    and went east through the alleyway to the end of the bUilding.
                                    The droplets then continued in a northern direction towards the

.'
     ,-                             front of the bUilding, and then west, when they reached the
                                    roadway of Village Lane. This same trail of what appears to be
 \                                  blood continued west on the road for approximately 145 feet, at
                                    which point it goes south up a staired walkway and east on the
                                    sidewalk that runs east to west, directly in f~ont of the
                                    apartments. "The blood continues east for apprOXimately 28 feet,
                                    which is directly in front of the doorway to 8510 Village Lane
                                    (location). The blood trail then enters via the front door into
                                    the apartment and eventually up to the bedroom that is later
                                    identified as that belonging to Maria Hernandez.

                                    Prior to entering tne apartment, Investigators noted that there
                                    were four vehicles parked on the south side of Village Lane
                                    facing west, directly in front of the bUilding.

                                    Upon entering the apartment via the front door, one enters into
                                    the tront room. Just to the east is the dining area, and north
                                    of the dining area is the kitchen with the two being divided by
                                    a bar type kitchen counter. On the east side of the ~ining area
                                    are some steps that lead down to a door that opens into the
                                    attached garage at. the south end of the apartment • . . .

                                    If one were once again standing in the front doorway facing
                                    south, one could see the stairs at the south end of the liVing
                                    room that lead up to the upstairs bathrooms and bedrooms.

                                T~ w~~ later learned by Investigators that the southea~~ bedroom
                                _as being used by ~.':' __ im Hl.!rnnndez, and the southwest bedroom
                                was being used by Victim Okazaki.               .

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     While inside the location, Investigators noted that the body of
     Vict~·Okazaki was lying on the kitchen floor in a supine
     position, with her head pointed east and her feet pointed west.
     She was dressed in white jogging type shoes, blue Levi trousers,;
     and a bl ue-and-whi te "Dodger" pullover shirt. '!here was a large pool of
     blood beneath her head, and she appeared to have a single                     ~
     gunshot wound to the front of her forehead, just to the right
     of midline.
     Investigators observed a small flower vase on the kitchen floor
     just south of the pool of blood that surrounded the victim's
     head. Also lying on the floor just south of the victim's body,
     between her and the kitchen counter that separates the kitchen
     from the dining room, was a small brown paper sack that contained
     trash.                              .
     In ~he dining room, Investigators observed a glass top dining
     table that had four yellow chairs that were part of the dining
     set. The chair on the west side of this rectangular table was
     upside down with its four legs in the air. There also appeared
     to be ~lood droplets on the back and bottom side of the chair.
     Continuing south from the dining room, Investigators noted that
     the blood droplets trailed into the bathroom which is located .
     just north of Victim Hernandez's room, and then into her bedroom.
     There was also a good amount of blood on the telephone, which
     was in the same bedroom.
     Investigators then exited the interior of the apartment and
     entered.the attached garage via the open garage door. Upon
     entering the garage, Investigators noted the evidence held
     baseball cap on the f~oor just inside the garage and to the
     rear of Victim Okazaki's car, which was parked on the east side
     of Victim Hernandez's car, both of which were parked head-in,
   _ facing north.
                                                                                           "
     Directly adjacent to Victim Okazaki's gold Camaro was an orange-
     colored carpet which ran along the passenger side of the vehicle
     up to just about the entryway into the apartment. Upon closer
     examination of the entryway, Investigators observed what
     appeared to be blood spatterings on the door leading into the
     apartment, as well as the wall that were near this door. By the
     amount of blood and direction of spatterings in this particular
     area, it indicated to Investigators that this was perhaps the
     area where Victim Hernandez had sustained her injury. Investi-
     gators also noted that this appeared to be where the previously
     ~~~~=~~cj blood trail had sta.tc~.




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                  While at the location at 0030 hours, Deputy VanderWende of the
                  Sherifi's Crime Lab arrived and took photographs and dusted for
                  fingerprints, at the direction of Investigators. A written
                  report detailing Deputy VanderWende's actions will be prepared
                  by him, a copy of which will be made a permanent part of this
                  file.                                                                     ~

                  At 0020 hours, Deputy Coroner's Investigator Rainey arrived at
                  the location and took charge of the victim's remains. While
                  at the location Deputy Rainey advised Invest1g&tors as to the
                  issuance of Coroner's Case #85-3822.
                  At 0330 hours, prior to leaving the location, PAULINE ROGERS,
                  FM/42, arrived and advised Investigators that she was the mother
                  of Victim Hernandez. She further advised Investigators that her
                  daughter was currently under sedation at Beverly Hospl~al await-
                  ing surgery for a gunshot wound to the hand. Due to the condition
                  of Victim Hernandez, Investigators chose not to contact her at
                  this time. Mrs. Rogers could add nothing further at this time
                  and the interview was terminated.
                  On 3/18/85 at 1500 hours, Investigators responded to Beverly
                  Hospital where they contacted Victim #2, MARIA HERNANDEZ. When
                  asked by Investigators to recount her actions leading up to anp
(
                  during the shooting incident the night before, Victim Hernandez
\                 stated she would. She advised Investigators that she had just
                  arrived at home (location) after dropping off her boyfriend,
                  Gordon Toevs, MW/26, at his home in the city of Arcadia. She
                  stated that as on any other occasion she opened the garage with
                  her electronic garage door opener and entered, parking her car
                  on the west side of her roommate's. She stated that after
                  exiting her car she walked around the back end of it, and after
                  crossing the rear of Sayle's (Victim Il's) car she headed north
                  for the door into the condominium. She continued that upon
                  reaching the door she stuck her house key in the door, while
                  simultaneously hitting the button that closes the garage door                               .-
                  with her left hand. She continued that as soon as she had
                  unlocked both the dead bolt and the door knob lock to the door
                  she heard an undistinguishable noise, which caused her to
                  immediat~ly look over her shoulder.   upon turning aroand she
                  instantly observed a .light-skinned male, either Mexican or
                  caucasian, 5'9- to 6'1-, thin build, dark hair, wearing a black
                  -Members Only· type jacket, white shirt, and black trousers.
                  She stated that this male, who appeared to be 19 to 25 years of
                  age, was within six feet of her as he walked in her direction
                  while pointing a gun at her head.



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                      Victim Maria Rernandez stated that as the male drew closer to
                      her location she noted that she had what she described to be a
                      very determined look on his face.  She stated that the suspect
                      was using a two-handed grip on the gun, with his arms being
                      extended out from the shoulder towards her. She stated that
                      because of the intense stare in the suspect's eyes she knew
                      he was about to shoot her, so she began pleading with him not ~
                      to shoot. She related that when he came within one or two
                    . feet from her face she began to squat down, keeping he~ Land
                      in front of her face, pleading for her life. She stated that
                      while on her way down, the garage light, which is on a t~er
                      wi~h the door, went out.  As soon as the light went out the
                      suspect fired a single shot from the four to siX-inch blue
                      steel gun in his hands. She stated that the bUllet struck
                      her on the hand, but due to the fact that it was dark she
                      pretended to be dead in hopes that the suspect would leave
                      her alone.
-.
                    After the suspect had fired this shot he opened the now
                    unlocked door which leads into the apartment, and after pushing
                    her body out of the way, ran up the stairs into the condominium.
                    She went on to state that as soon as he entered the condominium
                    she hit the garage door button and went running out of the
                    garage. She stated that shortly after getting out of the garage
                    she lost her footing and fell to the ground. She stated that
                    right around the t~e she fell to the ground she remembered
                    hearing possibly another gunshot.

                    Victim Hernandez stated that as she ran east through the alleyway
                    at the' rear of the building, she was worried about her roommate
                    who she felt was inside because her car was in the garage.   It
                    was for ehis reason that Vict~ #2, Maria Hernandez, chose to
                    run around to the fr~nt of the building in an attempt to get to
                    the front door and help her roommate. She stated that upon
                    rounding the Corner and running west onto Village Lane, she
                    passed the first set of steps and was running next to a
                    neighbor's Volkswagen car when she observed the suspect walking
                    east on the sidewalk in front of the bUilding.   (It should be
                    noted that these steps are located approximately 17 feet west
                    of the extended wes~ curb line, which is at the east end of the
                    bUilding) .

                    Vict~   Hernandez continued by saying that as soon as the suspect
                     noticed that she was next to the Volkswagen he gave her a look
                     of surprise, and then once again in a two-handed point shOulder
                     position pointed the gun at her as he continued w-lk1ng east to
                     thp ~t~irs that lead down to the street lev~l. She stated that
                     as he continued to point the gun at her, the only thing that //~\




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                purposes of making a composite drawing. Victim Hernandez could
                add nothing further and the interview was terminated.

                On 3/18/85 at 2000 hours, Investigators were contacted by     _
                Deputy Coleman of the Sheriff's Staff Artists Unit, who advised
                Investigators that he had met with Victim Hernandez earlier
                that evening and had completed a staff artist's composite based                    ~
                on her suspect description. Copies of this drawing will be
                obtained and made a permanent part of this file.

                On 3/19/85 at 1045 hours, Investigators were present at the Los
                Angeles County Coroner's Office, where Or. Wegner performed an
                autopsy on the remains of Victim Okazaki. At approx~ately 1110
                hours, in our presence, Or. Wegner ~etrieved Evidence Held Item
                .2 (bullet) under R~ceipt #0-90868, from the head of Victim
                Okazaki.  Upon completion of his autopsy, Or. Wegner attributed
                the cause of the victim's death to be a gunshot wound to the
                head. A detailed report prepared by Or. Wegner covering his
                findings will be obtained and made a permanent part of this
                file.

                While at the autopsy, Investigators were contacted by Investi-
                gator Romero of the Monterey Park Police Department, who also .
                was attending a post mortem examination of a murder victim.
                This victim had also been Oriental, of Chinese descent, and was
                shot and killed at approximately 2350 hours, 3/17/85, also with
                a small caliber handgun, approximately six miles from our
                location. The victim showed no signs of rape or robbery as her
                purse was still in her vehicle, and was an apparent random-type
                street shooting with no discernible motive.  The doctor perform-
                ing the autopsy on this victim removed two .22 caliber projectiles,
                which the Monterey Pa~ Police Oepar~~ent will transport to the
                Los Angeles county Sheriff's Department Crime Lab - Ballistics
                Section, for comparison with the projectile removed from Victim
              - Okazaki.

                On 3/19/85 at 1200 hours, Sgt. Mercer responded to the Sheriff's
                Crime Lab where he left Evidence Held Item      .2
                                                              (expended bUllet
                from the Coroner's Office), and Evidence Held Item #1 (baseball                                 "
                cap) in the appropriate sections of the Sheriff's CrLme Lab for
                analysis.

                On Wednesday, 3/20/85, Sgt. Mercer was advised by Sgt.
                Christiansen of the Sheriff's Firearms Identification Section
                that upon comparison of the projectiles in the Monterey Park
                homicide and Sgt. Mercer's homicide, that in his professional
                -t'~"~""u •• ~ felt that the bullets ....ere fired from the same gun,




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           and that if he had a chance to test fire that particular gun he
           would expect to match the bullets. His findings will be
           contained in a separate report and made a permanent part of this
           file.
           This investigation 1s continuing with further reports to follow.




           SGT. JAMES F. MERCER, t061592
           INVESTIGATOR GILBERT CARRILLO, .014031     ~ ~
           APPROVED: LT. ANTHONY R. TOOMEY, #091591   ~{
           HOMICIDE BUREAU - DETECTIVE DIVISION
           Watson/Steno




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            I, Elise Taylor, MFCC, am a licensed psychotherapist, and my area of
     expertise has been mitigation preparation for capital cases, including the
     development   or psychosocial histories, and in that capacity,    I have worked on
     approximately 25 capital cases, at both the pre-trial and appellate levels. While
     working for Simon and Unger as a penalty phase investigator, the fIrm was retained
     by Michael Burt of the San Francisco Public Defender's Office to work on the case
     of People v. Richard Ramirez. When I was brought into the Ramirez case, it was
     with the primary intent of working with Mr. Ramirez to prepare his psychosocial
     history for use in his penalty phase.


            When I first started working with l\'lr. Ramirez, I was informed by his
     defense team that he had expressed significant concerns about confidentiality, and
     that his obsession with that issue had reached an almost paranoid level. This was
     confIrmed when I began. meeting with Mr. Ramirez, and he repeatedly stated to me
     that he refused to discuss his life history with me, primarily due to concerns about
     the safety of any information he might release to me.


            For the fIrst months I met with Mr. Ramirez, a signifIcant portion of the time
     we spent together was taken up by his repeated questioning of the security m~ures
     in my offIce, in the public defender's offIce, what kind of locks were used, who had
     keys, the security of telephone lines, who had access to my notes, etc.. Mr. Ramirez
     als·o spoke about his pervasive lack of trust, and, during the fIrst months that we
     worked together, he devised complex plans for trying to determine the lines of
     communication within the defense team. Despite the fact that I had made clear to
     him that I would not hold anything he said secret from his attorney, and that
     anything he told me in any context would be shared with the rest of      hi~   defense
     team, he seemed obsessed to distraction by trying to "catch" someone lying to him.




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             As the months went by, Mr. Ramirez' obsessive nlrninations about security
      and trust became somewhat less prominent, but they would immediately come to the
      foreground when I attempted to talk with him about his life story.             He was
      extremely protective of his family, and it took many, many hours before he was
      willing to even acknowledge that there may have been issues in his childhood and
      family life that had a significant impact on him. Any attempt on my 'part to discuss
      his childhood, or any part of it that might have been perceived of as a negative
      reflection on his parents, was immediately dismissed by Mr. Ramirez, and he
      remained adamant in his refusal to participate in the gathering of historical
      information, often changing the subject to new security concerns.


             This protectiveness about family, and unwillingness to participate in the
      penalty phase, is quite common in penalty phase work. The feelings of ambivalence
      or guilt about sharing "family secrets" are 'almost always experienced at some point
      or points during the preparation of a social history, with eventual resolution. In
     Mr.   ~amirez'   case, however, there was an intensity to his avoidance that seemed,
     at times, to be more than volitional. He was unable to understand the importance
     of the presentation of his social history to the jury. The few pieces of information
     that he did share about his childhood included some spiritual and religious content
     that was obviously significant and quite real to Mr. Ramirez, despite the
     hallucinogenic quality with which he described it. Despite his insistence to the
     contrary, I was left with the sense that these experiences had a profound impression
     on him, and I wondered whether they, along with the death of Mr. Ramirez' father
     during Mr. Ramirez' incarceration, had some influence over his willingness and/or
     ability to discuss his childhood experiences.


            Although Mr. Ranurez never became any more forthcoming in discussing his
     life history, his obsessions with security (e.g., questioning me during each visit about
     locks, tape recordings, etc.) did become somewhat less prominent as the months
     went by. However, these were replaced by increasingly repetitive and ruminative

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     obsessions with various sexual issues. Prior to beginning work on the case, I had
     been informed that Mr. Ramirez had displayed this sort of behavior with other
     female defense team members, and, accordingly, I discussed the structure and
     purpose of our relationship with him when we fIrSt met, including the absolute and
     non-negotiable absence of any physical contact of any kind. Although he seemed to
     comprehend what I was saying, he displayed an almost compulsive tendency towards
     an extremely adolescent (and, at times, pre-adolescent) obsession with sex, including
     repeated discussion of masturbation, his thoughts about genitalia, and his various
     sexual fantasies.


            Again, in my experience working with almost exclusively male clients, it is not
     uncommon for such issues to be addressed at some point. However, at no time have
     I experienced what was in my opinion, the delusional intensity of Mr. Ramirez'
     distraction with sexual issues. After many months of meeting, as he came to realize
     that the nature of my relationship was not going to change as a result of his repeated
     discussions about sex, he initiated this as a subject of conversation somewhat less
     frequently. However, in much the same way that his security concerns had come
    to the fore earlier in our relationship, whenever I attempted to engage him in
    conversation concerning even the most basic of issues pertaining to his life history,
    he would begin discussing his sexualized thoughts about me.


           Mr. Ramirez' sexual obsessions (and occasional compulsions in the form of
    attempting to masturbate in my presence) included a significant fIXation on feet. It
    became apparent that this was not restricted to me, and that many of his sexual
    fantasies incorporated this fetish. During the course of our meetings, if a female
    walkt=d by in front of our interview room, he would often comment on her shoes.


           The quality and nature of Mr. Ramirez' sexual obsessiveness was unique, in
    that it appeared to significantly cloud his judgement at times. Whereas most other
    clients with whom I have addressed this issue have behaved in a relatively discreet

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     manner, and remained quite conscious of the possible ramiflcaHons of "overdoing"
     such attempts, Mr. Ramirez had no such hesitations.


            Mr. Ramirez would behave in a manner that (if he were thinking rationally)
     he knew could potentially result in significant and distressing punitive consequences
     (i.e., attempting to pull down his pantS and expose himself to me), with no apparent
     concern for the results of that behavior.         Even after many months of my
     unquestionably consistent negative response to, and dismissal of, this behavior, it
     appeared as though he approached every incident with the real belief that I might
     respond positively. His repeated suggestions that we might have sex in the interview
     room were presented with a sincerity and intensity that indicated that he actually
     believed that this was a possibility, despite the constant presence of a guard three
     feet in front of a large glass window in the front of the room. Whereas one miglJ.t
     expect that there would be some extinction of this behavior after more than a year
     of repeated attempts and requests on his part, it was as though each time, he was
     proposing it for the fIrst time; as though he had never mentioned it before.


            In working on capital cases for oyer fIve years, at no time have I ever
     eXPerienced a defendant who was so perpetually unable to participate· in the
     preparation of his case. In addition to the specifIc behaviors and characteristics
     described above, it.was my distinct impression that Mr. Ramirez' experience with
     his Los Angeles trial attorneys had fed into his predisposition towards a paranoid
     mistrust, leaving him feeling that it was useless to participate.         Despite his
     unwillingness to discuss it in any detail, it was quite clear that he was signifIcantly
     distressed by the fact that his father had been called to appear in court during his
     Los Angeles trial; he states that this was done without his knowledge or consent.


            This played a significant role in Mr. Ramirez' hesitation and resistance to our
     communicating with or involving his family in allY way, and he was consistent in
     maintaining his pervasive need for absolute control over every aspect of our contact

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      with his family, to the point of requesting that meetings be tape-recorded for his
      review. Once again, this level of concern caused me to wonder whether he was
      worried that some member of his family might discuss something that he had told
      them to avoid, and he insisted on speaking with them immediately before any
      discussion we had with them. Mr. Ramirez consistently called and/or wrote to his
      family, dictating whom they could talk to and telling them specifically what they
      should and should not say.


             Mr. Ramirez' multiple death sentences were addressed numerous times and
      in many different contexts during the course of our months together. Again, there
      was a quality to his response to them that differed significantly from that which I
      have seen in other condemned defendants. Although he never actually stated that
      he did not believe it would happen, it was quite apparent that he was simply in
      complete denial about the potential finality of the sentence. In stark contrast to
      other defendants, who struggle with feelings of anger, hostility, frustration, betrayal,
      fear, and denial, Mr. Ramirez' response was much more akin to a 12-year-old who
     had been grounded for a week. In other words, his denial was seamless, to the point
      of being dissociative. He could discuss the fact that he had received multiple death
     sentences, but at no time acknowledged any concern for it, or any understanding of
     the impact it has had on his family. This was particularly significant from the
     perspective of his mother, for whom he appeared to have the most sincere concern,
     yet whose fears surrounding his death sentence, he could not in any way understand
     or respond to.


            Later in the course of my meetings with Mr. Ramirez, I attempted to
     confront him with the inconsistency between his refusal to cooperate with me in the
     preparation of his social history, and his apparent willingness to sell his life story for
     publication. His response to this was always the same: that he would simply censor
     his story and present it in such a way that it was marketable (to allow him to
     provide some     fina~cial   security for his mother), without being destructive to his

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      family. It was clear, even after repeated explanations by multiple defense team
      members over a "period of a year, that Mr. Ramirez could not weigh and determine
      the strategic ¢unage such an act would have on his case.         His concerns about
      security also came into play in addressing this issue, in that he was convinced that
      if he were to discuss bis life history with me, that information would somehow end
      up being published, and would therefore cause him to lose his window of
      opportunity to sell the story.


             It was apparent that Mr. Ramirez' concerns went far beyond any sort of
     logical response. He acknowledged that he did not doubt my trustworthiness, nor
     that of his attorney, and said that he undelostood the ramifications for my
      professional life if I were to ever discuss his case with anyone, let alone sell
     confidential information. However, in much the same sort of concrete, obsessional
     thinking displayed in his sexualized interactions, this informaticn did not appear to
     factor in to his decision-making process. In my professional opinion, Richard's
     judgement concerning who he could and should trust (based on all logical and
     rational information) was significantly impaired, and he seemed truly surprised and
     taken aback when various media personnel did not present him (and various bits
     and pieces of his story) in exactly the manner in which he had provided it to ,them.
     Again, despite Mr. Ramirez' extensive history with the media, and his apparent
     ability to acknowledge the bias with which he felt his case had always been
     presented, in my professional opinion that knowledge was not in any way
     incorporated into his thought process. In much the same way that his sexualized
     behavior with me did not in any way accommodate or adjust to my responses, it was
     as though in this arena, as well, he was totally unable to learn from past experience.



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